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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

    In re:                                                   Chapter 7

    AKORN HOLDING COMPANY LLC,                               Case No. 23-10253 (KBO)
    et al 1
                    Debtors.                                 (Jointly Administered)

                                                             Objection Date:         April 6, 2023 at 4:00 p.m.
                                                             Hearing Date:           April 13, 2023 at 10:00 a.m.

 NOTICE OF TRUSTEE’S APPLICATION FOR APPROVAL OF RETENTION OF
GREENHILL & CO., LLC AS INVESTMENT BANKER AND FOR RELATED RELIEF

         PLEASE TAKE NOTICE that George L. Miller, the chapter 7 Trustee for the estates of

the above-captioned Debtors (the “Trustee”), has filed the Trustee’s Application for Approval of

Retention of Greenhill & Co., LLC as Investment Banker and for Related Relief (the “Application”)

with the United States Bankruptcy Court for the District of Delaware, 824 North Market Street,

3rd Floor, Wilmington, Delaware 19801 (the “Bankruptcy Court”).

         PLEASE TAKE FURTHER NOTICE that objections, if any, for approval of the

Application must be made in writing and filed on or before April 6, 2023 at 4:00 p.m. (ET) (the

“Objection Deadline”) with the Bankruptcy Court, 824 N. Market Street, 3rd Floor, Wilmington,

Delaware 19801. At the same time, you must serve a copy of the objection upon undersigned

proposed counsel for the Trustee so as to be actually received by the Objection Deadline.

         PLEASE TAKE FURTHER NOTICE that if an objection is properly filed in accordance

with the above procedures, a hearing on the Application will be held before the Honorable Karen




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     The Debtors in these chapter 7 cases, along with the last four digits of their federal tax identification numbers,
     and cases numbers are Akorn Holding Company LLC (9190), Case No. 23-10253 (KBO); Akorn Intermediate
     Company LLC (6123), Case No. 23-10254 (KBO); and Akorn Operating Company LLC (6184), Case No. 23-
     10255. The Debtors’ headquarters is located at 5605 CenterPoint Court, Gurnee, IL 60031.



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B. Owens, United States Bankruptcy Court Judge, United States Bankruptcy Court, 824 Market

Street, 6th Floor, Courtroom No. 3, Wilmington, DE on April 13, 2023 at 10:00 a.m. (Eastern

Time). Only those objections made in writing, timely filed, and served in accordance with the

above procedures will be considered at the hearing.

         PLEASE TAKE FURTHER NOTICE if no objections are timely filed in accordance

with the above procedures, the undersigned shall file a Certification of No Objection. Upon the

filing of the Certification of No Objection, the Court may enter an Order granting the relief

requested in the Application without further notice or a hearing.


 Dated: March 22, 2023                                     COZEN O’CONNOR


                                                    By:    /s/ John T. Carroll, III
                                                           John T. Carroll, III (DE No. 4060)
                                                           Simon E. Fraser (DE No. 53350
                                                           1201 N. Market Street
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                                                           Wilmington, DE 19801
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                                                           Proposed Counsel to George L. Miller,
                                                           Chapter 7 Trustee




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